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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

KEVIN CLIFFORD,                          )
                                         )
                    Plaintiff,           )
                                         )
v.                                       ) CASE NO. 1:18-CV-1425-SEB-DML
                                         )
FENTRESS ENVIRONMENTAL                   )
SERVICES, INC. d/b/a                     )
SERVICEMASTER BY F.E.S.                  )
and BRYCE BELLER                         )
                                         )
                    Defendants.          )

                     NOTICE OF DISMISSAL WITH PREJUDICE

      Plaintiff Kevin Clifford, by counsel, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), hereby dismisses his claims against Defendants, Fentress

Environmental, Inc. d/b/a Servicemaster by F.E.S. and Bryce Beller, with prejudice.


                                                Respectfully submitted,



                                                /s/Robert J. Hunt
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                                                Attorney for Plaintiff
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                             CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a copy of the foregoing has been served

this 13th day of August 2018, by way of U.S. First Class Mail upon the following

Defendants:

Fentress Environmental Services, Inc.
d/b/a Servicemaster by F.E.S.
Bryce Beller
6006 E. 38th Street
Indianapolis, IN 46226




                                                /s/Robert J. Hunt
                                                Robert J. Hunt
